Case 1:09-cv-01169-LTB-CBS Document 40 Filed 01/03/11 USDC Colorado Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Civil Action No. 09-cv-01169-BNB
SOLOMON B. COHEN,
Plaintiff, FILED

UNITED STATES DISTRICT COURT
DENVER, COLORADO

JAN -3 2011
JOHN P. LONGSHORE, and

UNKNOWN MAIL CLERK, El Paso County Sheriff's Office, GREGORY C. LANGHAM
CLERK

V.

Defendants.

 

ORDER ASSIGNING CASE

 

Upon completion of the court's review pursuant to D.C.COLO.LCivR 8.1C, the
court has determined that this case does not appear to be appropriate for summary
dismissal and that the case should be drawn to a district judge and to a magistrate
judge. See D.C.COLO.LCivR 8.1D. Pursuant to D.C.COLO.LCivR 40.1C.1., the case
will be assigned to Judge Lewis T. Babcock and to Magistrate Judge Craig B. Shaffer.
Accordingly, it is

ORDERED that this case shall be assigned to Judge Lewis T. Babcock pursuant
to D.C.COLO.LCivR 40.1C.1., and to Magistrate Judge Craig B. Shaffer.

DATED January 3, 2011, at Denver, Colorado.

BY THE COURT:

s/ Boyd N. Boland
United States Magistrate Judge
Case 1:09-cv-01169-LTB-CBS Document 40 Filed 01/03/11 USDC Colorado Page 2 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

CERTIFICATE OF MAILING

Civil Action No. 09-cv-01169-BNB

Solomon B. Cohen

Reg No. 77 309 675
GEO/ICE Detention Center
3130 North Oakland Street
Aurora, CO 80010

| hereby certify that | have mailed a copy of the ORDER to the above-named
individuals on January 3, 2011.

GREGORY-C. LANGHAM, CLERK

 

By:

 

eputy Clerk
